                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

UNITED STATES OF AMERICA, ex rel.
GNGH2,

                                                                       FILED UNDER SEAL
                       Plaintiffs.                                     Civil Action No. 24-cv-661

        v.

ZUND AMERICA, INC.,

                       Defendant.


               United States’ Notice of Election to Intervene for Settlement
______________________________________________________________________________

        Pursuant to the False Claims Act, 31 U.S.C. §§ 3730(b)(2) & (4), the United States of

America notifies the Court of its decision to intervene in this action for settlement purposes with

Defendant Zund America, Inc.

        The United States, Zund America, Inc., and the relator, GNGH2, Inc., have executed a

settlement agreement to resolve this matter. The settlement agreement requires Zund America,

Inc., to make the settlement payment within 14 days, and upon receipt of the settlement payment

by the United States, the United States and the relator will file a notice of voluntary dismissal in

this action.

        Finally, the United States requests that the relator’s complaint, this notice, and the attached

proposed order be unsealed. The United States requests that all other papers on file in this action

remain under seal because, in discussing the content and extent of the United States' investigation,

such papers are provided by law to the Court alone for the sole purpose of evaluating whether the

seal and time for making an election to intervene should be extended.




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Dated this 4th day of December, 2024.

                                         GREGORY J. HAANSTAD
                                         United States Attorney

                                   By:   /s/ Michael A. Carter

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